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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                   CASE NO.: 1:16-CV-24687-KMW

  EDGARDO LEBRON

          Plaintiff,

  v.

  ROYAL CARIBBEAN CRUISES, LTD.,
  a Liberian corporation,

          Defendant.

  ________________________________________/

                PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES


          COMES NOW, Plaintiff, EDGARDO LEBRON, by and through the undersigned counsel,

  hereby files his Certificate of Interested Parties providing the complete list of persons and/or entities

  that have a financial interest in the outcome of this case, and associated persons, firms, partnerships

  or corporations that have a financial interest in the outcome of this case, and states as follows:

              1. Edgardo Lebron
                 Plaintiff

              2. Spencer Marc Aronfeld
                 Aronfeld Trial Lawyers
                 Attorney for Plaintiff

              3. Royal Caribbean Cruises, LTD
                 Defendant

              4. Darren W. Friedman
                 Attorney for Defendant

              5. Blue Cross Blue Shield of Puerto Rico
  	
              6. Triple S. Insurance

                                          Aronfeld	Trial	Lawyers	
                                              Aronfeld.com		
                                                     	
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         DATED: January 11, 2017.

                                                      Respectfully Submitted,

                                                      Lovecia A. Holmes, Esq.
                                                      Aronfeld Trial Lawyers
                                                      3132 Ponce de Leon Blvd.
                                                      Coral Gables, Florida 33134
                                                      P:     305-441-0440
                                                      F:     305-441-0198


                                                      By: s/ Lovecia A. Holmes
                                                          Lovecia A. Holmes, Esq.
                                                          Fla. Bar No: 124132

                                 CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that on January 11, 2017, I electronically filed the foregoing document with
  the Clerk of the Court using CM/ECF. I also certify that the foregoing is being served upon all
  counsel of record or pro se parties identified on the Service List below in the manner specified,
  either via transmissions of Notices of Electronic Filing generated by CM/ECF or in some other
  authorized manner for those counsel or parties who are not authorized to receive electronically
  Notices of Electronic Filing.

                                                      /s/ Lovecia A. Holmes
                                                      Lovecia A. Holmes, Esq.




                                       Aronfeld	Trial	Lawyers	
                                           Aronfeld.com		
                                                  	
